Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.79 Filed 09/08/09 Page 1 of 12

EXHIBIT C
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.80 Filed 09/08/09 Page 2 of 12

OPERATING AGREEMENT
FOR
CORPORATE EAGLE JET, LLC
A Michigan Limited Liability Company

THE INTERESTS DESCRIBED AND REPRESENTED BY THIS OPERATING
AGREEMENT HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933
(THE “ACT”) OR ANY APPLICABLE STATE SECURITIES LAWS (“STATE ACTS”) AND
ARE RESTRICTED SECURITIES AS THAT TERM IS DEFINED IN RULE 144 UNDER
THE ACT. THE SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD, OR
OTHERWISE TRANSFERRED EXCEPT PURSUANT TO AN EFFECTIVE REGISTRATION
STATEMENT OR QUALIFICATION UNDER THE ACT AND APPLICABLE STATE ACTS
OR PURSUANT TO AN EXEMPTION FROM REGISTRATION UNDER THE ACT AND
APPLICABLE STATE ACTS, THE AVAILABILITY OF WHICH IS TO BE ESTABLISHED
TO THE SATISFACTION OF THE COMPANY, DEFINED HEREIN.
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.81 Filed 09/08/09 Page 3 of 12

ARTICLE I - ORGANIZATION... ececcsessecesceceseescenececeeaeseceenescaesesescncuensncasneaesesescsaseueeesaneneeenaaasseeesesees 1
1.1 Formation of Limited Liability Company............... 0c ceeeeeeeeeceeneeeeueceaeenees 1
1.2 — PUTPOSE 20. eee eee ee eee cc terete sence ecueteeseesee sees eeseeeeeaseneeetneneeeesesaeteeeeees 1
1.3. POWEL ... cece ce cece cere nee ener tee ete e nent nee ea ee neta eee eae ee ee eee neat t esa ea sees beeen Ee eS 2
1.4 Teri 0... eecec ec ec ec ee cern erence c eee eeeeeeeeenene ses tereeeeseneetaeeeeseceeneaeeeeeeteres 2
1.5 Principal Place of Business ........ 0.0... eceeceeeeceeceeceseeeeeseeeeerseeneeeeeeeneaeenseaees 2
1.6 Registered Office and Agent.............. ce ceeeecee eee eeeeeeeee eee eeeeneeeeeeeeteneeeneeee 2
1.7 Initial Membership 20.0... cece cece eecec sence eee eeeeeeeneree ee eeeeeeeaeneataeneetaeeeees 2
1.8 Status of Entity 20.0... cee ceeeceeeecneeeen eee eeeesceneeneenenseeeeceseeseseeneaeneeees 3

ARTICLE II - CAPITALIZATION .........cccsssssssesesesesesesesesesceteeseesscssscesesesvecusucusececensaeaseesnscenneseasseeneaess 3
2.1 Initial Capital Contributions of Members ...............ccccccesceeceeeeee ees eneeeeeeenees 3
2.2 Liability for Contributions .......... 0... ee eee eee ee cence eee ecece ee eeeeneoeaeeeseeaeeaes 3
2.3 Enforcement of Obligation to Contribute Capital ................. ccc eececeeeceeeeeeeeeenes 3
2.4 Additional Funding .............ccccecccececececeeeeceee eee eneeeneeneneeeeeeeeeesseseseeeenenes 3
2.5 Membership Interest, Percentage Interests............. dees eee ee eee neta ee eneee ences eaeenes 5
2.6 Capital ACCOUDES 00... cee ce eee ce eee eee area eens eeen tee nee eee eeneaeen essa eaeeneenee es 7

2.6.1 Increases to Capital ACCOUNE 2.0.0.0... cece cece cecec ese eceeeeeeeneeeeestesesseeeees 7

2.6.2 Decreases to Capital ACCOUNE....... 0. cece cee eee eet eenececeeteneeeneeeeeeeeeees 8
2.7 Contributions of Promissory Note...............:.cecseeeeeeeeeeeeeeeeesees sedeeeeueneceenees 8
2.8 Distribution of Assets in Kind ........... eee eee cece ee eec nent eee eeeeeeeeeaeenetensaeeaes 8
2.9 Transfer of Membership Interest ..............ccceceecee eee eeeeeeen sees eeeeeeeeseeeeenseenes 8
2.10 Return of Capital ........ ee ee ce cece ec cece ee eee eee eeaeseeseeeanea eaten seaeeeeneneegeeees 8
2.11 Timing of Determimation .............. ccc eeeeeceeeee cence eeeeen ecto eeseeeeenseseeaeereees 9
2.12 IMterest 0.0... eee cece ec eee ec cence ececeeeeneceeeeeeeceeeaeeseeseeeeeneneneeeenee sees beeeeees 9

ARTICLE If - ALLOCATIONS, DISTRIBUTIONS, AND TAX ELECTIONS ........cccesssecesseeeeeees 9
3.1 Partnership Tax Treatment............ ccc eee ee eee eceeeeeeeeseeee ce eeaeeasaneenberenes 9
3.2 Allocation of Profits and LOSSES .............cceeceeceeeeeeneceeeeeeeeeeeeeeeeeneeeesteeees 9
3.3. Definition of Net Cash FIOW ...........ccccsseeseecccneeecececeeeeeeeueenenseeeuseesesessnees 9
3.4 Distribution of Net Cash Proceeds ............... ccc ceeeeeeecece eee eeeenereeeeeeeneceeeeees 10
3.5 Tax Allocations for Contributed Property ................cceseeeeeeceeeeeeereeneeeeeeenees 11
3.6 Book Accounts ............ccccccececeeneceenececeeeeeeeeeneaeeeeasedentereneseeeeeeseeeeneeees 11
3.7 Adjustments upon Liquidation .............c cece eee kc eee eee eee eee seneenseseeeneeneteees 11
3.8 Special Allocation Provisions..............ccccseeeeeeeeeeceseeeeceecnersereneaeeersectenes 11

3.8.1 Special Allocation of Losses Creating Negative Capital Accounts .......... li
3.8.2 Qualified Income Offset................cccceeecnececeeceececneeeeenecneaesenesesenees 12
3.9 Minimum Gain... c ccc cec ec nc nec eceeeecneeneceeenceecneeacaenesvensaeeeeeereaeeeeees 12

INDEX
TO
OPERATING AGREEMENT
FOR
CORPORATE EAGLE JET, LLC
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.82 Filed 09/08/09 Page 4 of 12

3.10 Minimum Gain Chargeback .............ccccceccecceececeeceeceseceeeseecsenseseaeeensencenss 12
3.11 Curative Allocations............cccccecceceececeeceeceeceseeeeceeeeeeceecneaeeneeneeeesaeeaees 13
3.12 Tax Matters Member ............ cc cececeeceeeececenceeceeneeesesnseseeeneaeeeeneeeeesaeegees 13
ARTICLE ITV - MEMBERS 1... ceccscecsscssseesssesescessceccsencaescsesesussesssssssssseseseseesesssssesacsescescsesesasececscarsees 14
4.1 Action by Members Without a Meeting ...............cccccccecececseeeeeeresecenenseceneas 14
4.2 Limitation on Authority of Members .....:.........ccceccecceececeeceeeeteeceeeeeencensenes 14
4.2.1 Member Not an Agent .............cccccceccceececceneaeeteeeeaeeenseteeeeeeneneseees 14

4.2.2 No Authority 2.0... ccc ccc cece ccceenecceeseeseeeeeeeeeeeeeeeeeseseseeeneaneeeeenees 14

4.2.3 Expenditures 22.0.0... cee cee cece eee eececeneeceeeeeeeceseseseeeaeeeeseeeneaeeenseses 14

4.2.4 Indemnification .............ccceeecceceececceecesescneceeecnsceecsesseeeeseeutecenees 14
ARTICLE V —-MANAGEMENT AND OPERATIONS ......ccccscsssssesssesescsesseseseseneeeeseesssscensecseevssseevs 15
5.1 §- Management ........ 0... ceececececececnee ee eeeceee cence eeeeesssnesseeeesegeseeeseaeaeaenseneas 15
5.2 Compensation; Reimbursement ..............ccceceeecccceeeecececeeeeeeeeeneneeeaearensenss 17
5.3. COMPEDSALION 2.0... cece eee cee sec eceeceen eee eeecseeeeeeseeeseeneeesgeesaeseeaeneeeness 17
5.4 Transactions with Affiliates ............cceccccccceccceceeeececeececseneneceseeeseesseaeeesenss 17
5.5 Other Activities Permitted 2.0.00... 0... cece cece eccececeeceeecesecececereceeeenentucucnsunees 18
5.6 Failure to Take Action... cece ce ceceeceeeneceeneeseseeeseeeceseseeaseseceesensngss 18
5.7 Standard of Care, Liability....... 00... cecccceccecnecneceeneeeeeseeeaeseeneneeeseseesnens 18
5.8  Separateness of the Company ...............cscceseeeeeceeceeeeaeeeceeeeceseeeeeeeeneeeeess 18
5.9 Acknowledgement of and Consent to Fees .............cccccceeececeecececeeeeeseeeneeencs 19
ARTICLE VI-— LIMITATION OF LIABILITY; INDEMNIFICATION; INSURANCE.........000. 19
6.1 Limitation of Liability 2.00... eee cececceeeeeceeeeceeeeeeeneneaeeeeneneeueneesusenees 19
6.2 - Liability of Member to the Company ..............cccceccececeeeececcceueeseeeeeteseeseuss 20
6.3 Indemmification......... 0. ccc cececececeeeeececeecececeeseseceseceeeneneneateeseteenensunses 20
6.3.1 Indemmification ........ 0... cece ceccecsecneeneneececeeeseeneseeeeaeassneneeeenevenees 20

6.3.2 Advance on Indemmification ...............ccccceececeeeeececeeceseneceesensuseans 20

6.3.3. Authorization to Indemmify..............cccceccccceeeeecececeeusseecesucucucusneeees 21

6.4  — Liability Insurance ....... 0. cece cee eec sec eceecneeeeeeeeesseeeseseeeeeseececaseneutauneseens 21
ARTICLE VII - TRANSFER OF INTERESTS ...... ss ccsssssssesssscssssescsesesesesecsesessesesesessesessssesecseassassaees 21
7.1 Restrictions on Transfer ..............cecceceeeeececnecseeeseeseeeeeceseeceseeseeeecnesneens 21
7.2 Rights of ASSignee..............cceecseeeeeceecceeceeeeeneceneeseeeeeceeseecesseseeeeeeeeaeereas 23
7.2.1 Death, Dissolution or Incompetency of Member .................ccecceceeeeees 23

7.2.2 Voluntary Tramsfer..... 0.0... ccseceecceceeeneeeeneceeeeeseseeaseuceeeeeesaseeass 23

7.2.3 Incompetency of Member ..............ccccccesscccsesccecceaneceuesseaucceuseseces 23

7.2.4 Transfer Resulting from Bankruptcy, Attachment or Judicial Order........ 23

7.3 Section 754 Election .............cececeeeececceceeceeececeeneceeeseeseceeeeaseeseeeeeetseeesees 23
7.4 No Right of Withdrawal ....... 0... cee cecceeceeceeeeceeeeeeaeeseeeneneseeeaeeeseentes 24
7.5 Single Representative to Act on Behalf of Successors ..............cccecsececeeeeeeeeees 24
7.6 Lifetime Transfers ..............ccccec ee eecececncnecnececesseeeeceeseeneseeeteeeeeatasaesees 24
7.7 Payment Terms .............ccececeeeececeececeeeeeceeeeeeeesecenseeeeeeeeeseeeeeesasatseeneeees 26
7.8 Date of Closing ........... cece cece s cece eee eeeeeceeeeneeeeeneees Lene eesescaeeeeeteeeeeaeseees 26

il
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.83 Filed 09/08/09 Page 5 of 12

ARTICLE VIII - DISSOLUTION ou... ccc ccccessssesessessesceccsecssesecscsssssesscscesseusessssesevseeacensasseeseeateeseeeeaees 26
8.1 Events Causing Dissolution ............... ce ceeeeeceececeeeeeeaeeeeeeeeseneeaecseeeteeaees 26
8.2 Cessation Of BUSINESS ..............ccccccececsccecusecucuseasauecseuscssucuctcncececteensensaes 26
8.3. Winding Up, Liquidation and Distribution of Assets ...............cccccceceeeeeeeeeeeee 27

8.3.1 Liquidating Member ................cccccscsscsssceeecceccceeessssecseeceeseuseneneeas 27
8.3.2 ACCOUNTING 2... eeeeccec ee eccecececeeeeseeceeeeeeaeeeecseeeseueeeecuceeeseneass 27
8.3.3 Assets SOld ...........cccececcsceeecceeceecueestecesueseeseueseceeueecseseenenctaneees 27
8.3.4 AMOCation......... cc ccecececececec enc eceneeenenseeeeneesesceusescsueucuceaeaeuseeraeas 27
8.3.5 Liabilities 2.0.0.0... ccc cececececeaeececeeteeceuceseeeeeceueesessucueuaueeesasasnanaeneas 27
8.3.6 ReSCIVES ......cceccccccececec ens eneeeteaceceneeeeeeeeesensuscacesacvseeeuceseseuenaeess 27
8.3.7 DistriDUtion........ 0c. ce cecec eee se eee etecececuceceecevecesucuseeasaeasaeaeuevaneeaeess 27
8.4 Certificate of Dissolution..................c ccc ccccceccccccscucuceveusuenscessesaeeaenceeseuers 28
8.5 Post Dissolution ACtions ............cccccceeceecececteeeueuenseteesevauaeuasceuseteaenersers 28
8.6 Return of Contribution Nonrecourse to Other Members.................ccceceseceeeees 28

ARTICLE IX - ARBITRATION .....cccccccccscssscssssessesssessccsesessessvascesssacsensesssessusesuessesvacsarsnsensceeceeseaceaeees 28
9.1 ALDItratiOn 2.0... cece ce cecececec esse eceeeeceneeseceeceessceeteucessssusuesensneeseneaeuenenes 28
9.2 Award; Enforcement ............ccccccescesceeceeeceseateceeeesessessesevueuaveeseuseuseaenacs 29
9.3. Governing Law, Jurisdiction ................cccececeee es bet eeeceeeeeaeaeaeeneseseeeenenenes 29
9.4 Specific Performance; Injunctive Relief ..............ccccecceessccceceeeuscceeeseeseesences 30

ARTICLE X - MISCELLANEOUS 1... .eccccsscssssesseceecssecsescsscssusccevsecvscsseseucsassesscsassaesseeaecsecaseeeseseeseces 30
10.1 Security Law Restrictions ......... 0... cee ecceececceeneceeceeeeeeeeneeseeeeeeeeseeceensensngs 30
10.2 Tax and Fiscal Years............ccccceccecencensececeececeneuceeeeccsssnesacueeasetsaesnearacs 31
10.3. Books of Account and Records ...............ccecececececeeeceeeesesenaes seceeeeeeeeeeeeeaes 31
10.4 Tax Returns and Financial Reports...............ccceccceeeeeeeeeees Lebeseesueaeeeeeeseseens 31
10.5 Bank Accounts and Investment of Funds..............ccccccccccesecescseveeeeceeesaeeeeas 31
10.6 Consent of Member ..............ccccecceceesecsencseueesteceseneeusesseeseneessaeseeeceseneens 32
10.7. Covenant to Sign Documents.................:eesees do eeveeeeeeaaeecaaaserseeceseaaesesees 32
10.8  NOtiCeS .... 0... ccc cc cc cc ese eee eeceeenteceeeeeeeutesueeeessuesesuscusseuevaeeseavaeeeenntacenens 32

10.8.1 Requirement of a Writing; Permitted Methods of Delivery................... 32

10.8.2 Addressees and Addresses................ eed ec ese ea eeeeeeneeeeeeeeeteeeeerseenenes 32

10.8.3 Effectiveness of a Notice .............ccccccccecesecceecuceccueeneesscecceuseueaeens 33
10.9 Headings........ ce ecceneeeeee ee eneneeeneneeeeeeeeeeeeateesseseeseeaseeepereetaseeereues 34
10.10 Complete Agreement; Severability .............cccccccccceccsccseceeeeeceececessenecesuueens 34
10.11 Default; Waiver ..............cccccccccecsecceececcusseuesceeeesereveesssesesaeeeueenenseneueeas 34
10.12 No Third Party Beneficiaries 2.0.0.0... .ccecccecceeccescaeeeeecneeccseeeetseseeceeeeuseens 35
10.13 Binding Effect of Agreement ......... 00... cececccecnecneeeceeeeeeseeseeneeneeeseeeaeneneees 35
10.14 Counterparts 2.0.0.0... ccccccccecceceeeeeeeeeeeeeeeeceseeseseeesssnsseeeeeeeeeseseeeeeeeseseeeea 35
10.15 Amendments ............ccccccccccccsssscsceeceecececeesecsreeceesccssseeeceeceessnsstattersees 35
10.16 Distributions ..............ccccceccecescescenceeeceeeeseesseuucepeceuesceusecutseeeersevesesenes 35
10.17 Conflicts of Interest .......... 0... ccc eececeeccecseececeasceussaccccseccsseuseseseneeeenens 36
10.18 Assignment........... cece csc ceee see eee nee eeeeeeeatceeeabeeeeeeensesetesetensenereeeeetentees 36
10.19 Time for Performance ...............ccccecccccceeseceuceeesaeeetevscuevseueuseeesesceereeseacs 37
10.20 Rights and Remedies; Remedies Not Exclusive ..............cccccecseseeeeeceeseeeneeees 37
10.21 SUrvival .... ccc cc ccc ccc eneceeetereceenceeesetecsenesseeseetecseveueeeceuceesenseuseusenenecs 37

“ili
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.84 Filed 09/08/09 Page 6 of 12

10.22 Indemmification............. cc ccc ccc cece eesccunceesucecccecccccevescececsecesscesesetevsteenes

iv
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.85 Filed 09/08/09 Page 7 of 12

OPERATING AGREEMENT
FOR
CORPORATE EAGLE JET, LLC
THIS OPERATING AGREEMENT (“AGREEMENT”), made this __ day of
2006, effective , 2005 between Tradewinds Aviation, Inc., a Michigan corporation
(“Tradewinds”), (“ ”), (“ ),
c ")s ( "Ys
“ ")s Cc ”);
Cc ")s Cc "ys
c "); c ?
(Tradewinds, ; ; ; ; ,

are hereinafter individually referred to as
“Member” and collectively as “Members *) and Corporate Eagle Jet, LLC, a Michigan limited
liability company (“Company’’).

WITNESSETH:
WHEREAS, The Company was formed on , 2006; and

WHEREAS, The parties to this Agreement desire to set forth in this Agreement the entire
agreement with respect to the capitalization, operation and management of the Company and the
rights and duties of the members of the Company, including current and future members of the
Company.

NOW, THEREFORE, It Is Agreed:

ARTICLE I - ORGANIZATION

1.1 Formation of Limited Liability Company. A limited liability company named
Corporate Eagle Jet, LLC, has been formed by the filing of Articles of Organization with the
Michigan Department of Labor and Economic Growth, Corporation Division, on , 2006
(“Articles”). Except as otherwise expressly provided in this Agreement, the rights and liabilities of
the Members and the administration of the affairs of this Company shall be as provided in the
Michigan Limited Liability Company Act, as the same may be amended from time to time (“Act”).

1.2 Purpose. The sole purpose of the Company is to (i) acquire from Tradewinds one
thousand three hundred eighty-seven (1,387) of newly issued and outstanding shares of the capital
stock of Tradewinds (“TRA Interest”), (ii) purchase a previously owned Raytheon Hawker 800XP
aircraft (“Aircraft”), (iii) upgrading and refurbishing the Aircraft, (iv) transferring ownership
interest in the Aircraft to single purpose limited liability company (the “SPE”), (v) selling and/or
leasing the interests of the SPE in quarter or one-eighth incremental shares (“Shares”) (Sections
1.2(ii), (iti), (iv) and (v) are collectively referred to as the “Process”), and (vi) repeat the Process
once the last Share is sold or leased.
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.86 Filed 09/08/09 Page 8 of 12

1(b)(2)(i)(b)(2) of the Treasury Regulations. Notwithstanding anything to the contrary in this
Agreement, upon a liquidation within the meaning of Section 1.704-1(b)(2)(1i)(g) of the Treasury
Regulations, if any Member has a deficit capital account (after giving effect to all contributions,
distributions, allocations and other capital account adjustments for all taxable years, including the
year during which such liquidation occurs), such Member shall have no obligation to make any
capital contribution, and the negative balance of such Member’s capital account shall not be
considered a debt owed by such Member to the Company or to any other person for any purpose
whatsoever.

8.4 Certificate of Dissolution. Upon the occurrence of any of the events specified in
Section 8.1 and after all debts, abilities and obligations have been paid and discharged or adequate
provision has been made therefore and all of the remaining property and assets have been distributed
to the Members, a Certificate of Dissolution shall be filed with the Michigan Department of
Consumer and Industry Services, Bureau of Commercial Services.

8.5 Post Dissolution Actions. Upon acceptance for filing of the Certificate of ©
Dissolution, the existence of the Company shall cease and terminate, except for the purpose of suits,
other proceedings and appropriate actions as provided in the Act. Any amounts deemed necessary
by the Liquidating Manager to provide a reserve for any unforeseen liabilities and obligations may,
in the Manager’s discretion, be deposited in a bank or trust company upon such terms and for a said
period of time as the Manager may determine. The Liquidating Manager shall have authority to
distribute any Company property discovered after dissolution, distribute any reserve balances after
contingent liabilities have been determined and paid, convey real estate and take such other action as
may be necessary on behalf of and in the name of the Company. The remaining assets of the
Company shall be distributed to the Member’s in accordance with their positive capital account
balance.

8.6 Return of Contribution Nonrecourse to Other Members. Except as provided by law
or as expressly provided in this Agreement, upon dissolution, each Member shall look solely to the
assets of the Company for the return of their respective contributions.

ARTICLE IX - ARBITRATION

9.1 Arbitration. Any and all disputes, claims or controversies involving the
interpretation of this Agreement or any of the provisions, terms, conditions, termination or
enforcement of a Member’s obligations or rights hereunder (“Disputes”) shall be submitted in
writing (“Notice”) by a Member to the Manager within thirty (30) days of the occurrence of any
Dispute. A meeting shall be held within forty-five (45) days from the submission of the written
Notice between the Member and the Manager or any designated agent of the Manager at a neutral
location for the purpose of attempting in good faith to negotiate a resolution of the Dispute. If the
Dispute is not resolved within forty-five (45) days of the meeting between the Manager and the
Member, the Dispute shall be submitted to binding arbitration and exclusively resolved in
accordance with the then prevailing Commercial Arbitration Rules (“Rules”) of the American
Arbitration Association (“AAA”); provided, however, that notwithstanding anything to the contrary
contained in the Rules, the arbitrator shall apply the laws governing this Agreement as set forth in
Section 9.3 herein and shall not act as an amiables compositeur. The arbitration is to be conducted
by a single arbitrator in Southfield, Michigan, in accordance with the Rules of the AAA existing as

28
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.87 Filed 09/08/09 Page 9 of 12

of the time the arbitration is commenced. Modification to the procedures set forth herein may be
made only for exceptional good cause as determined by the arbitrator. In the event either party shall
fail, after reasonable advance notice, to appear and participate in the arbitration proceeding, the
arbitrator shall be entitled to make a decision and make an award on the basis of evidence, witnesses
and arguments presented by the parties so appearing before the arbitrator. Pending decision by the
arbitrator with respect to the Dispute, all other obligations of the parties hereto shall continue as
contemplated by this Agreement. The Parties shall be entitled to discovery as provided in the
Michigan Court Rules of 1985, as amended. The arbitrator shall have no authority to award
punitive damages or other damages not measured by the prevailing party’s actual damages, and
may not, in any event, make any ruling, finding or award that does not conform to the provisions
of this Agreement. Any arbitration proceeding under this Agreement must be commenced no
later than one (1) year after the Dispute arose. Failure to timely commence an arbitration
proceeding constitutes both an absolute bar to the commencement of any arbitration proceedings
with respect to the Dispute, and a waiver of the Dispute.

9.2 Award: Enforcement. In making an award, the arbitrator shall be governed by the
provisions of this Agreement and the common law and statutes of the State of Michigan. The
arbitrator shall have no authority to change any provision of this Agreement. The award shall
allocate the fees and expenses of such arbitration equally between or among the parties to the
arbitration but each party shall pay for the cost of its counsel, witnesses and other related expenses.
The determination of the arbitrator shall be final and binding upon the parties, shall not be
appealable and judgment on the award or determination rendered pursuant to this Agreement may be
entered in any court pursuant to Section 9.3. The decision of the arbitrator (or the failure of a party
to submit the Dispute to arbitration or to appear and participate in the arbitration in accordance with
the terms of Section 9.1 herein) shall be a complete defense to any suit, action or proceeding
initiated in any federal, state or local court or before any administrative agency with respect to any
Dispute which is arbitrable as set forth herein. This Agreement is specifically made subject to and
incorporates the provisions of Michigan law governing arbitrations, MCLA 600.5001; MSA
27A.5001, as amended, and the applicable court rules, MCR 3.602, as amended. This agreement to
arbitrate shall be specifically enforceable against each of the parties and no party has the right to
revert to any federal, state or local court or administrative agency concerning alleged breaches of this
Agreement except as otherwise provide in Sections 9.2 or 9.4 herein. Arbitration shall be the
exclusive remedy for any Dispute under this Agreement except to the extent the specific
enforcement of the award or specific enforcement of any term or provision of this Agreement in a
court having equitable jurisdiction by a decree of specific performance or an injunction or by both is
deemed necessary and appropriate by a party (including, but not limited to, any matter covered by
Section 9.4), and (ii) except with respect to the non-payment of monies due and owing in accordance
with the terms of this Agreement.

9.3 Governing Law; Jurisdiction. This Agreement shall be construed and enforced in
accordance with and governed by the internal laws of the State of Michigan without regard to the
choice or conflict-of-law principles. The parties irrevocably agree and consent that venue is proper
in the Circuit Court for the County of Oakland, State of Michigan, and shall be the sole and proper
forum for any litigation arising out of or in connection with this Agreement pursuant to Section 9.2
and Section 9.4 herein. The parties agree not to commence, maintain or remove any action or
proceeding arising out of or relating to this Agreement or any other documents or agreements

29
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.88 Filed 09/08/09 Page 10 of 12

executed in connection with the closing of the transactions contemplated by the terms of this
Agreement in any other state or federal court and each party waives any substantive, procedural,
jurisdictional, convenient forum, venue or other rights to the contrary. Any and all service of
process and any other notice in any such action, suit or proceeding shall be effective against any
party anywhere in the world if given pursuant to the applicable court rules of the appropriate court
having jurisdiction hereunder.

9.4 Specific Performance: Injunctive Relief. The parties hereby acknowledge and agree
that the Membership Interests are not freely purchased or sold in the open market and that the
covenants made herein are of value to the parties only if fully performed by them, and that the
parties (i) will incur substantial and irreparable damage, (ii) that the damages suffered by the parties
may be difficult to ascertain, and (iii) that money damages may not be an adequate remedy for any
actual or threatened breach of the provisions of this Agreement. Therefore, the parties hereby agree
that each and every one of the terms of this Agreement and any arbitration determination shall be
enforceable in the Circuit Court for the County of Oakland (without posting any bond or deposit) for
the purpose of obtaining an order compelling specific performance or injunctive relief (without
posting a bond or other security) without the necessity of proving it has suffered any actual damage.

ARTICLE X - MISCELLANEOUS

10.1 Security Law Restrictions. Each Member acknowledges that any ownership security
or other interest in the Company has not been registered under the Securities Act of 1933, as
amended, nor has the Company been registered under any other federal laws, the laws of the State of
Michigan or any other state (for purposes of this Section collectively the “Securities Acts”), because
the Company is issuing the Membership Interests in reliance upon: (4) exemptions from the
registration requirements of the Securities Acts providing for issuance of securities not involving a
public offering, (ii) the fact that the Membership Interests are to be held by each Member for
investment and (iii) the fact that exemption from registrations under the Securities Acts would not be
available if the Membership Interests were acquired by a Member with a view to distribution.
Accordingly, each Member hereby affirms to the Company that such Member is acquiring the
Membership Interest for such own Member’s account, for investment and not with a view to the
resale or distribution thereof. Each Member agrees not to transfer any portion of such Member’s
Membership Interest unless there is an effective registration or exemption from registration relating
thereto under the Securities Act of 1933 and under any applicable Securities Acts or unless the
Member delivers to the Company an opinion of counsel satisfactory to the Company that such
registration or other qualification under the Securities Acts is not required in connection with such
Disposition. Each Member understands that the Company is under no obligation to register the
Membership Interests or to assist any Member in complying with any exemption from registration
under the Securities Acts if such Member should at a later date wish to transfer its Membership
Interest. Furthermore, each Member realizes that the Membership Interests are unlikely to qualify
for disposition under Rule 144 of the Securities and Exchange Commission unless such Member is
not an affiliate of the Company and the Membership Interest has been beneficially owned and fully
paid for by such Member for at least three (3) years. Prior to acquiring a Membership Interest, each
acquiring Member has made an investigation of the Company and its business and the Company has
made available to each such Member all information with respect thereto that such Member needed
to make an informed decision to acquire the Membership Interest. Each Member has relied on its

30
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.89 Filed 09/08/09 Page 11 of 12

10.21 Time for Performance. Time is of the essence as to the performance of each and
every one of the obligations of the parties under this Agreement.

10.22 Rights and Remedies; Remedies Not Exclusive. No failure or delay on the part of
any party in the exercise of any right or remedy under this Agreement will impair that right or
remedy or be construed to be a waiver of, or acquiescence in, any inaccuracy or breach of any
representation, warranty or agreement in this Agreement, nor will any single or partial exercise
of any right or remedy preclude other or further exercise of that right or remedy, or of any other
right or remedy. Except where it is expressly stated to be the exclusive remedy, no remedy
conferred by any of the specific provisions of this Agreement is intended to be exclusive of any
other remedy, and each and every remedy shall be cumulative and shall be in addition to every
other remedy given hereunder or now or hereafter existing at law or in equity or by statute or
otherwise.

10.23 Survival. Except as otherwise provided in this Agreement, the provisions of this
Agreement will survive the execution, delivery and performance of this Agreement.

10.24 Indemnification. Each and every party who defaults under the terms of this
Agreement hereby agrees to indemnify and hold harmless the nondefaulting parties from any
claims, demands, losses, damages, actions, causes of action, judgments, expenses, costs,
including attorney and accounting fees, obligations or liabilities which said nondefaulting parties
may sustain or incur as a result of or arising out of the actions or failure to act by a party who is
in default under the terms of this Agreement.

IN WITNESS WHEREOE, the parties hereto have executed this Agreement effective as of
the date first written above.

“COMPANY”

CORPORATE EAGLE JET, LLC, a
Michigan limited liability company

By: Tradewinds Aviation, Inc., a
Michigan corporation

Its: Manager

By:

Richard M. Nini, President

Dated:

“MEMBERS”

37
Case 2:09-cv-12613-AC-DAS ECF No. 7-5, PagelD.90 Filed 09/08/09 Page 12 of 12

Tradewinds Aviation, Inc., a Michigan
corporation

By:

Richard M. Nini, President

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38
